                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE, DOROTHY
NAIRNE, EDWIN RENE SOULE, ALICE
WASHINGTON, CLEE EARNEST LOWE,
DAVANTE LEWIS, MARTHA DAVIS,
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION FOR
EQUITY AND JUSTICE, Plaintiffs,
V.
KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana, Defendant.
                                                            Civil Action No. 3:22-cv-00211
                                                            Chief Judge Shelly D. Dick
                                                            Magistrate Judge Richard L.
                                                            Bourgeois, Jr.

                          MOTION FOR LEAVE TO INTERVENE
       Now before the Court comes The Louisiana Legislative Black Caucus (LLBC) an

association of African American members of the Louisiana legislature. Members of LLBC

opposed the plan which is the subject of this proceeding when it was first proposed and were united

in opposing the plan throughout the process of its adoption by the Louisiana legislature.

Throughout that process members of LLBC contended that the proposed plan was illegal, the same

claim which is asserted by the Plaintiff in this proceeding and continued to oppose the plan when

it was presented to and ultimately vetoed by the governor and also continued to be united in

opposition to the plan during the veto override session when the plan was purportedly adopted. As

is shown by the attached memorandum, LLBC has a substantial interest in this proceeding and

meets all requirements to intervene.
       Plaintiffs have advised that they do not oppose this motion. Defendant and intervenors have

been contacted and have not, as of the filing of this motion, advised as to whether Defendant and/or

Intervenors will oppose the motion.

       Wherefore The Louisiana Legislative Black Caucus moves that the Court grant it leave to

file the attached Petition of Intervention and intervene in this proceeding in support of the relief

requested by Plaintiff.

                                              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I do hereby certify that, on this 21st day of April 2022, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system, which gives notice of filing to all counsel

of record.

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